Case 1:22-cv-10904-JSR Document 301-2 Filed 08/25/23 Page 1 of 11




                EXHIBIT 2
  Case 1:22-cv-10904-JSR
          ConfidentialDocument 301-2 Filed
                         - Pursuant        08/25/23 Page 2Order
                                     to Protective         of 11


 1              UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF NEW YORK
 2
     GOVERNMENT OF THE UNITED           )
 3   STATES VIRGIN ISLANDS              )
                                        )
 4           Plaintiff,                 )
                                        )
 5   vs.                                ) 1:22-cv-10904-JSR
                                        )
 6   JPMORGAN CHASE BANK, N.A.,         )
                                        )
 7         Defendant/Third-             )
           Party Plaintiff.             )
 8   _________________________          )
     JPMORGAN CHASE BANK, N.A.          )
 9                                      )
             Third-Party                )
10           Plaintiff,                 )
                                        )
11   vs.                                )
                                        )
12   JAMES EDWARD STALEY,               )
                                        )
13           Third-Party                )
             Defendant.                 )
14
                    THURSDAY, JULY 6, 2023
15
       CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
16                         – – –
17              Videotaped deposition of Special
       Agent Joseph Fonseca, FBI (Retired), held at
18     the offices of WilmerHale, 250 Greenwich
       Street, New York, New York, commencing at
19     9:07 a.m. Eastern, on the above date, before
       Carrie A. Campbell, Registered Diplomate
20     Reporter and Certified Realtime Reporter.
21
22
23                          – – –
24               GOLKOW LITIGATION SERVICES
              877.370.3377 ph | 917.591.5672 fax
25                     deps@golkow.com


Golkow Litigation Services                                         Page 1
  Case 1:22-cv-10904-JSR
          ConfidentialDocument 301-2 Filed
                         - Pursuant        08/25/23 Page 3Order
                                     to Protective         of 11


 1            relates to fraud and anything else
 2            that's from the Act, I honestly -- I
 3            can't tell you.
 4     QUESTIONS BY MR. PENDELL:
 5            Q.       Well, and my question was a
 6     little bit broader than that, and I apologize
 7     if I asked a bad question.        That may happen
 8     from time to time.      I'm notorious for asking
 9     bad questions.
10                     But I'm interested generally
11     in -- do you think that people and businesses
12     have an obligation to comply with the law,
13     whatever that law is?
14            A.       I would agree, yes.
15            Q.       Do you have any opinion as to
16     whether JPMorgan
17

18                                ?
19            A.       I do not.
20            Q.       No opinion one way or the
21     other?
22            A.       I don't.
23            Q.       Okay.   Mr. Fonseca, what
24     subject areas do you consider yourself to be
25     an expert in?



Golkow Litigation Services                                         Page 17
  Case 1:22-cv-10904-JSR
          ConfidentialDocument 301-2 Filed
                         - Pursuant        08/25/23 Page 4Order
                                     to Protective         of 11


 1            A.       Anything relevant to crimes
 2     against children.
 3            Q.       Okay.   You are not a certified
 4     public accountant; is that correct?
 5            A.       That is correct.
 6            Q.       Okay.   During your tenure as an
 7     FBI special agent, I understand that based on
 8     your CV, and we're going to talk about it a
 9     little bit more later, you had some
10     supervisory authority for other special
11     agents; is that true?
12            A.       That is correct.
13            Q.       Okay.   And during your time
14     with that supervisory authority over other
15     FBI special agents, did you expect that those
16     agents that you supervised were going to
17     gather as much evidence as possible for an
18     investigation that you were pursuing?
19                     MR. BOUCHOUX:     Objection to the
20            form.
21                     THE WITNESS:     I expected them
22            to do their job.      Collecting evidence
23            was part of them doing their job, yes.
24     QUESTIONS BY MR. PENDELL:
25            Q.       Do you ever recall a time when



Golkow Litigation Services                                         Page 18
  Case 1:22-cv-10904-JSR
          ConfidentialDocument 301-2 Filed
                         - Pursuant        08/25/23 Page 5Order
                                     to Protective         of 11


 1     under the age of 18, and the responsibility
 2     for investigating that would fall outside of
 3     crimes against children?
 4            A.       That is correct.      That would --
 5     if you're referring back to the human
 6     trafficking scenario I just provided, if they
 7     were here and not documented and they were
 8     underage, the human trafficking squad -- the
 9     public corruption squad and their agent that
10     worked human trafficking there for
11     undocumented -- and I'll say women because
12     that is pretty much what we saw, was women --
13     they would work that case, correct.
14            Q.       And what about -- so if you had
15     sex trafficking of people under the age of 18
16     that were US citizens, would that fall under
17     crimes against children?
18            A.       Correct.    Adult or child, yes.
19            Q.       Okay.   When you say adult or
20     children, if somebody -- if there was a sex
21     trafficking operation and everyone involved
22     was over the age of 18, would crimes against
23     children, would that -- what do you call it,
24     a bureau or squad?
25            A.       The squad.



Golkow Litigation Services                                         Page 28
  Case 1:22-cv-10904-JSR
          ConfidentialDocument 301-2 Filed
                         - Pursuant        08/25/23 Page 6Order
                                     to Protective         of 11


 1            Q.       Is it fair to say that your
 2     responsibility was in carrying out the
 3     policies?
 4                     MR. BOUCHOUX:     Objection to
 5            form.
 6                     THE WITNESS:     I would say my
 7            obligations were to follow protocols
 8            and to follow my experience in cases.
 9     QUESTIONS BY MR. PENDELL:
10            Q.       While employed by the FBI, were
11     you responsible for providing official
12     opinions interpreting FBI investigative
13     policy?
14            A.       No, I was not.
15            Q.       While employed by the FBI, were
16     you responsible for setting any other FBI
17     policies?
18            A.       No.
19            Q.       We talked a little bit about
20     your experience with the FBI in the crimes
21     against children squad.
22                     I want to focus a little bit
23     more on your work within that department
24     specifically investigating sex trafficking.
25                     How many investigations were



Golkow Litigation Services                                         Page 96
  Case 1:22-cv-10904-JSR
          ConfidentialDocument 301-2 Filed
                         - Pursuant        08/25/23 Page 7Order
                                     to Protective         of 11


 1     you involved in at the FBI that specifically
 2     involved sex trafficking?
 3            A.       That's a difficult question to
 4     answer, specifically because I was involved
 5     as an investigator and as a coordinator for a
 6     task force that saw a dozen cases a week.             So
 7     it was -- it could be more than that.           So
 8     it's difficult to answer that question.           A
 9     lot.
10            Q.       Well, let me ask you this.        You
11     had talked earlier about an example of a case
12     you worked on with -- I don't want to call
13     him a gentleman, because I would argue that
14     he's not, but a man who lured an underage
15     person over the Internet across state lines
16     for the purposes of sex.
17                     Although reprehensible and a
18     criminal act, would you agree that that
19     particular instance is not sex trafficking?
20                     MR. BOUCHOUX:     Objection to the
21            form.
22                     THE WITNESS:     I can't tell you
23            what he was -- I can't tell you what
24            he was charged with, if we're talking
25            about that case with Smith and --



Golkow Litigation Services                                         Page 97
  Case 1:22-cv-10904-JSR
          ConfidentialDocument 301-2 Filed
                         - Pursuant        08/25/23 Page 8Order
                                     to Protective         of 11


 1     QUESTIONS BY MR. PENDELL:
 2            Q.       Do you think that the case
 3     against Mr. Epstein was a routine sex
 4     trafficking case in your opinion?
 5                     MR. BOUCHOUX:     Objection to the
 6            form.
 7                     THE WITNESS:     Can you define
 8            "routine"?
 9     QUESTIONS BY MR. PENDELL:
10            Q.       Well, I'm sort of
11     interested in -- let me -- well, let me ask
12     it this way.
13                     You've come here and you've
14     testified based on your experience --
15            A.       Uh-huh.
16            Q.       -- that you've worked on
17     several, numerous, many, sex trafficking
18     cases, and you've never worked on one that
19     involved an individual with Mr. Epstein's
20     wealth.
21                     So would you agree with me that
22     the sex trafficking case against Mr. Epstein
23     was not routine?
24            A.       No.
25            Q.       You would not agree with me?



Golkow Litigation Services                                     Page 105
  Case 1:22-cv-10904-JSR
          ConfidentialDocument 301-2 Filed
                         - Pursuant        08/25/23 Page 9Order
                                     to Protective         of 11


 1            A.       I would not agree.
 2            Q.       Why not?
 3            A.       The supposition that wealth
 4     matters when you are working a case that has
 5     to do with paying juveniles small amounts of
 6     money, which we saw in every case, to
 7     sexually abuse them is not unusual.          Your
 8     wealth has nothing to do with those points of
 9     the sexual abuse.
10            Q.       Well, fair enough.
11                     But we're not just talking
12     about wealth here, right?
13                     Let me ask you this question.
14     How many sex trafficking cases have you been
15     involved in where there were over a hundred
16     victims?
17                     MR. BOUCHOUX:     Objection to the
18            form.
19                     THE WITNESS:     I don't think
20            any.
21     QUESTIONS BY MR. PENDELL:
22            Q.       So would you agree with me that
23     a sex trafficking case with over a hundred
24     victims is not a routine case?
25            A.       From the amount of victim point



Golkow Litigation Services                                     Page 106
 Case 1:22-cv-10904-JSR
         ConfidentialDocument 301-2 Filed
                        - Pursuant   to 08/25/23 Page 10
                                          Protective     of 11
                                                       Order

 1    of view, I would say based on my experience,
 2    that is unusual to see that amount of
 3    victims.    The way of investigating the case
 4    would not be unusual.
 5           Q.       A hundred victims is a lot,
 6    isn't it?
 7           A.       A hundred victims is a lot
 8    compared to just one victim, yes.
 9           Q.       And one victim is bad enough.
10    A hundred is --
11           A.       Absolutely.
12           Q.       -- unfathomable, right?
13           A.       Absolutely.
14           Q.       You said something about
15    wealth had nothing to do with making it
16    routine or not routine.       I'm paraphrasing
17    here because you said something about small
18    amounts of money that were paid.
19                    Have you looked at how much
20    money was involved specifically in this case?
21                    MR. BOUCHOUX:     Objection to the
22           form.
23                    THE WITNESS:     From the payments
24           that were made to the victims, I have
25           reviewed statements from the victims



Golkow Litigation Services                                   Page 107
 Case 1:22-cv-10904-JSR
         ConfidentialDocument 301-2 Filed
                        - Pursuant   to 08/25/23 Page 11
                                          Protective     of 11
                                                       Order

 1           to the term "banking information."
 2           Vague.    Ambiguous.
 3                    THE WITNESS:     I know what --
 4           part of our team would be our
 5           intelligence analysts, but I never
 6           used banking information, so I
 7           don't -- I don't know who I'd assign
 8           that responsibility to except an
 9           intelligence analyst, I guess.
10    QUESTIONS BY MR. PENDELL:
11           Q.       And let me ask you another
12    question in light of counsel's objection,
13    which was fair.
14                    During your tenure with the FBI
15    investigating sex trafficking of children,
16    were you ever responsible for reviewing the
17    financial information of a suspect?
18           A.       And to be clear, too, sex
19    trafficking is not just with children.          We
20    investigated adults as well.
21                    But the financial interest?
22    Your question about that was?
23           Q.       Yes.   Did you ever review the
24    financial information of a suspect?
25                    MR. BOUCHOUX:     Objection to the



Golkow Litigation Services                                   Page 111
